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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK



H. CRISTINA CHEN-OSTER; SHANNA             No. 10-cv-6950-AT-RWL
ORLICH; ALLISON GAMBA; and MARY DE
LUIS,

                Plaintiffs,

             -against-

GOLDMAN, SACHS & CO. and THE
GOLDMAN SACHS GROUP, INC.,

                Defendants.


     DECLARATION OF MICHAEL LEVIN-GESUNDHEIT IN SUPPORT OF
PLAINTIFFS’ OBJECTIONS TO THE MAGISTRATE JUDGE’S ORDER REGARDING
                PUBLICLY DISCLOSED EQUAL PAY STUDY




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I, Michael Levin-Gesundheit, declare:

               1.      I am an attorney at Lieff Cabraser Heimann & Bernstein, LLP, Class

Counsel in the above-captioned action. I am a member in good standing of the bar of California,

and I have been admitted to this case pro hac vice. This Declaration is submitted in support of

Plaintiffs’ Objections to the Magistrate Judge’s Order Regarding a Publicly Disclosed Equal Pay

Study. I make these statements based on personal knowledge and would so testify if called as a

witness.

               2.      Attached hereto as Exhibit 1 is a true and correct copy of a news article

Bloomberg published that is available on the internet but behind a paywall: Laura Colby,

Goldman, Citigroup Targeted by Diversity Activists in 2017, Bloomberg News (Dec. 6, 2016),

available at https://www.bloomberg.com/news/articles/2016-12-06/goldman-citigroup-in-

crosshairs-of-diversity-activists-for-2017.

               3.      Attached hereto as Exhibit 2 is a true and correct copy of a news article

Bloomberg published that is available on the internet but behind a paywall: Laura Colby,

Goldman, BNY Mellow Bow to Investor Pressure on Gender Pay, Bloomberg News (Mar. 23,

2017), available at https://www.bloomberg.com/news/articles/2017-03-23/goldman-bny-mellon-

bow-to-investor-pressure-on-gender-pay-gap.

               4.      Attached hereto as Exhibit 3 is a true and correct copy of a document

Goldman Sachs produced at Bates number GS0633109.

               5.      Attached hereto as Exhibit 4 is a true and correct copy of a document

Goldman Sachs produced at Bates number GS0477620.




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                   6.      Attached hereto as Exhibit 5 is a true and correct copy of a document

Goldman Sachs produced at Bates number GS0838447.

                   7.      Attached hereto as Exhibit 6 is a true and correct copy of a document

Goldman Sachs produced at Bates number GS0620101.

                   8.      Attached hereto as Exhibit 7 is a true and correct copy of a document

Goldman Sachs produced at Bates number GS1023616.

                   9.      Attached hereto as Exhibit 8 is a true and correct copy of excerpts of the

transcript of the deposition of Goldman Sachs’s Chief Diversity Officer Erika Irish Brown.

                   10.     Attached hereto as Exhibit 9 is a true and correct copy of Exhibit 118 to

the deposition of Goldman Sachs’s Chief Diversity Officer Erika Irish Brown.

                   11.     Attached hereto as Exhibit 10 is a true and correct copy of Exhibit 119 to

the deposition of Goldman Sachs’s Chief Diversity Officer Erika Irish Brown.

                   12.     Attached hereto as Exhibit 11 is a true and correct copy of a document

Goldman Sachs produced at Bates number GS0109366.

                   13.     Attached hereto as Exhibit 12 is a true and correct copy of letter from

Goldman Sachs’s counsel to Plaintiffs dated February 21, 2012.

                   14.     Attached hereto as Exhibit 13 is a true and correct copy of an order in

Moussouris v. Microsoft, 15-cv-1483 (W.D. Wash. July 27, 2017).



                                             *       *      *



            I declare under penalty of perjury under the laws of the United States, the State of New

York, and the State of California that the foregoing is true and correct to the best of my



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knowledge and that this declaration was executed in San Francisco, California on December 17,

2020.


                                                  /s Michael Levin-Gesundheit
                                                  Michael Levin-Gesundheit




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